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                          Exhibit C
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     June 13, 2023                                                          FILE NO: 099997.0007105



     VIA OVERNIGHT DELIVERY AND E-MAIL

     Jonathan Mast


     jmmast@liberty.edu

     Re:    Demand to Cease and Desist Publication of Photographs of Baby Doe and Defamatory
            Statements Regarding John and Jane Doe, Baby Doe, et al., v. Joshua Mast, et al., No.
            3:22-cv-49 (W.D. Va.)

     Dear Mr. Mast:

     In your haste to generate financial support for Joshua and Stephanie Mast, you have aided and
     abetted the violation of a federal court’s protective order and defamed an Afghan couple
     seeking the return of the child they raised as their own for 18 months. You must immediately
     cease and desist using photographs of that child and refrain from making any further
     defamatory statements.

     This law firm represents John and Jane Doe, the plaintiffs in the above-listed action. That
     federal lawsuit alleges that your brother Joshua Mast and his wife Stephanie Mast, along with
     your brother Richard Mast and two other defendants, conspired to lure John, Jane, and Baby
     Doe to the United States under false pretenses so that Joshua and Stephanie could abduct
     Baby Doe using adoption papers likewise obtained through fraud.

     On September 13, 2022, the Court entered a Protective Order that prohibited all defendants,
     including Joshua and Stephanie Mast, and “their representatives” from “directly or indirectly
     identif[ying] Plaintiffs or their family members to any person.” The Protective Order
     specified that this language included “minor Plaintiff Baby Doe.” A copy of the Protective
     Order is enclosed.




                ATLANTA AUSTIN BANGKOK BEIJING BOSTON BRUSSELS CHARLOTTE DALLAS DUBAI HOUSTON
             LONDON LOS ANGELES MIAMI NEW YORK RICHMOND SAN FRANCISCO TOKYO TYSONS WASH NGTON, DC
                                                www.HuntonAK.com
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     Demand to Cease and Desist from Violations of the Protective Order

     On June 6, 2023, One America News Network (OANN) published an interview with you
     regarding the facts underlying the federal case and related state-court actions.1 During the
     interview, four photographs of Baby Doe are displayed, including two that show her face. We
     know that several of these photographs—if not all of them—originated with Joshua and
     Stephanie Mast. At the very least, if they did not provide the photographs to OANN, then we
     presume that you did.

     Near the end of your OANN interview, you encouraged viewers to visit the website of the
     Pipe Hitter Foundation. The address you announced—www.pipehitterfoundation.org—
     displays several photographs that may not be published under the Protective Order. For
     example, under the banner “Who We Support” on the Foundation’s landing page appears a
     photograph of Baby Doe with defendant Joshua Mast above the caption “The Mast Family.”
     Following the link beneath the image leads to a page titled “The Mast Family.” That page
     contains the first photograph along with three other photographs of Baby Doe—including one
     showing her sitting next to Stephanie Mast. The bottom of that page displays a “Donate” link,
     which leads to a fundraising page at titled “Help the Masts” (www.donorbox.org/help-the-
     masts). That page shows the photo of Baby Doe with Stephanie Mast above a solicitation for
     donations from Eddie Gallagher, Director of Operations for the Pipe Hitter Foundation.

     The Pipe Hitter Foundation also has published photographs of Baby Doe through its
     Instagram account (@pipe_hitter_foundation). On May 11, 2023, a post to that account
     included what appears to be a photograph of Baby Doe with her face partially obscured by a
     digital “sticker.” The same photo appears on an Instagram “highlight” titled “The Mast
     Foundation,” with the caption “Help the Mast Family!” and a link to the “The Mast Family”
     page described above. That photo appears again on the Pipe Hitter Foundation’s Facebook
     page in a May 11, 2023 post. And it has come to our attention that two of the Pipe Hitter
     Foundation’s founders, Eddie and Andrea Gallagher, published the same image in a joint post
     to their own Instagram accounts (@eddie_gallagher and @andrea_gallagher_), making no
     effort to obscure her face and encouraging their hundreds of thousands of followers to visit
     the Pipe Hitter Foundation’s website supporting the Masts. In total, the Pipe Hitter
     Foundation and its founders have published Baby Doe’s photograph eleven times, including
     six instances that show her face.



             1
               See One America News Network, Brother Of Marine Major Describes The Fight To Protect Afghan
     Girl Orphaned After Foreign Fighter Detonated Explosive Vest (June 6, 2023 4:46 PM),
     https://www.oann.com/video/oan-contribution/brother-of-marine-major-describes-the-fight-to-protect-afghan-
     girl-orphaned-after-foreign-fighter-detonated-explosive-vest.
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     Jonathan Mast
     June 13, 2023
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     You must cease and desist from disseminating photographs of Baby Doe on behalf of the
     defendants in this case. Such dissemination of Baby Doe’s identity violates the Court’s
     Protective Order, and you may be found to have aided and abetted in those violations. See
     Tattoo Art, Inc. v. Tat Int’l, LLC, 2012 WL 3912572, at *3 (E.D. Va. Sept. 7, 2012)
     (recognizing that a federal district court’s “jurisdiction is properly extended when nonparties
     with actual notice of the court’s order actively aid and abet a party in violating that order”)
     (cleaned up).

     Given the apparent violation of the Court’s Protective Order during your June 6, 2023
     interview with OANN and the distribution of photographs to the Pipe Hitter Foundation, we
     reserve the right to seek discovery and/or judicial intervention, including the imposition of
     sanctions and award of attorney’s fees, and this letter should not be understood as a waiver of
     any arguments we may make in that regard.

     Demand to Cease and Desist Defamatory Statements

     On top of the Protective Order violation, certain statements you made during the June 6, 2023
     OANN interview may constitute defamation. Specifically, when describing John and Jane
     Doe, you stated: “They essentially changed their mind and decided that they did not want to
     give the child up for adoption even though they very much knew that that was what was going
     to happen.”

     Moreover, when asked about John and Jane Doe and the status of the judicial proceedings,
     you stated that “at the time there were negotiations with the Taliban right before the U.S.
     withdrawal and we believe essentially that the State Department decided to . . . sacrifice the
     child to the Taliban who were making claims for her. . . . My brother made contact with these
     people shortly after he was able to locate them through private means and he ended up
     helping them get out of Afghanistan at the time of the U.S. withdrawal.”

     The Does “very much” did not know that Joshua and Stephanie Mast had fraudulently
     obtained adoption papers for Baby Doe and intended to take Baby Doe from them upon their
     arrival in the United States. The Does are also not affiliated with the Taliban and would never
     countenance participating in Baby Doe’s “sacrifice” to the Taliban. Those statements are
     false, malicious, and made with the express intent of discrediting and impugning the
     reputations of John and Jane Doe. Your irresponsible and defamatory statements may be
     actionable under Virginia law.
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     Demand to Preserve Documents and Electronically Stored Information

     This letter further serves as a demand by Plaintiffs, by and through their attorneys and
     pursuant to all applicable or potentially applicable rules of civil procedure, that you, as well as
     your attorneys and agents, preserve all hard-copy documents, tangible things, and digitally
     and/or electronically stored information (ESI) that is potentially relevant to all claims,
     defenses, or issues related to the above-discussed matters. We define ESI, consistent with the
     potentially applicable rules of civil procedure, as including any and all potentially relevant
     information stored electronically, digitally, magnetically, or optically.

     You must preserve any and all communications (1) between you and (a) the defendants in the
     above-captioned matter (Joshua Mast, Stephanie Mast, Richard Mast, Kimberly Motley, or
     Ahmad Osmani), including their agents or attorneys; (b) OANN, including its agents,
     employees, or attorneys; or (c) the Pipe Hitter Foundation, including its agents, employees, or
     attorneys; or (2) relating in any way to Baby Doe or the litigation surrounding Baby Doe.
     You must also act diligently and in good faith to secure and audit compliance with this letter,
     and you are also required to immediately identify and modify or suspend features of devices
     of systems that, in routine operation, operate to cause the loss of potentially relevant ESI (e.g.,
     auto-delete features on email, text messages, etc.). The failure to immediately take these steps
     will constitute spoliation of evidence. We reserve the right to pursue all available remedies in
     enforcing the preservation of evidence to the extent needed.

                                              *      *       *

     If you contend that, notwithstanding the Protective Order, you are authorized to publish
     photographs of Baby Doe, please provide us with documentation so authorizing. Likewise, if
     you contend that the statements regarding John and Jane Doe identified above are true, please
     provide us with documentation pertaining to those allegations. If there is some explanation
     for your conduct and statements related to these matters, we are willing to consider it.

     Sincerely,



     Kevin S. Elliker

     Enclosure
